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		OSCN Found Document:MODIFICATION OF JUDICIAL EDUCATION REQUIREMENTS FOR 2020-2021

					

				
  



				
					
					
						
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				MODIFICATION OF JUDICIAL EDUCATION REQUIREMENTS FOR 2020-20212020 OK 34Decided: 05/18/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 34, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



Modification of Judicial Education Requirements for 2020-2021




ORDER


¶1 Whereas Rule 4 of the Rules for Mandatory Judicial Continuing Legal Education. (Chapter 1, App. 4-B) requires all judges and justices to obtain twelve (12) hours annually of MJCLE;

¶2 Whereas the Governor of Oklahoma declared an Emergency on March 15, 2020, and the Supreme Court and Court of Criminal Appeals entered three joint orders dealing with the COVID-19 Emergency which altered the operation of the district courts through August 1, 2020 and suspended rules and procedures from March 16, 2020 to May18, 2020;

¶3 Whereas the emergency continues to exist and has resulted in the cancellation of the July 2020 Annual Oklahoma Judicial Conference and the June 2020 Annual Sovereignty Symposium and neither will be rescheduled. Numerous other judicial education seminars and conferences have been cancelled for 2020;

¶4 Whereas good cause exists for modifying the annual requirement and instead temporarily allowing judges two years to meet the requirements;

¶5 Whereas this Order does not affect any statutory requirement for judicial education for those judges with juvenile dockets;

¶6 IT IS THEREFORE ORDERED that effective immediately, the MJCLE requirement for the calendar years 2020 and 2021, is reduced from 12 hours per year to a combined total of 18 hours, and any or all credit may be earned in one or both years. Carry over hours from 2019 will also apply. The Administrative Office of the Court will provide judges and justices with an interim report for 2020 and a final report for 2021.

¶7 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 18th day of May, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


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